             Case 2:08-cr-00103-LKK Document 53 Filed 06/30/08 Page 1 of 4


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 5
     Attorney for Defendant
 6   JOHN PRUITT
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,  )
                                )             Case No. CR-s-08-103 LKK
12                Plaintiff,    )
                                )             STIPULATION OF THE PARTIES
13        v.                    )             TO CONTINUE; DECLARATION OF
                                )             DEFENDANT JOHN PRUITT ON THE
14                              )             WAIVER OF TIME UNDER THE
                                )             SPEEDY TRIAL ACT AND
15   JOHN PRUITT, DARYL ANTHONY )             AGREEING TO CONTINUANCE;
     BERG                       )             Order thereon
16
                  Defendants.                 Date: July 22, 2008
17   __________________________               Time: 9:30 a.m.
                                              Judge: Hon. Lawrence K.
18                                                Karlton
19          IT IS HEREBY STIPULATED by and between the parties
20   hereto through their respective undersigned counsel, as
21   follows:
22          The that the present date for the status conference of
23   July 1, 2008 shall be vacated; that the filing of a Defense
24   Reply pleading on the pending Motion To Suppress Evidence
25   shall be filed on July 8, 2008; that a hearing on that motion
26   and determination as to whether an evidentiary hearing shall
27   be held shall be set for July 22, 2008 at 9:30 a.m.
28   Stip
              Case 2:08-cr-00103-LKK Document 53 Filed 06/30/08 Page 2 of 4


 1          All undersigned counsel and defendants agree that time
 2   under the Speedy Trial Act from the date this stipulation is
 3   lodged through July 22, 2008 should be excluded in computing
 4   the time within which trial must commence under the Speedy
 5   Trial Act, pursuant to Title 18 U.S.C. § 3161 (H)(8)(B)(iv)
 6   and Local Code T4 for effective defense preparation, as well
 7   as Local Code e as motions are on file with the court.
 8    DATED: June 30, 2008.                    Respectfully submitted,
 9                                             /s/ MARK J. REICHEL
                                               MARK J. REICHEL
10                                             Attorney for Defendant
11   DATED: June 30, 2008.                     Respectfully submitted,
12                                             /s/ MARK J. REICHEL for
                                               JOHN P. BALAZS
13                                             Attorney for Defendant Berg
14
15                                             McGREGOR W. SCOTT
                                               United States Attorney
16
     DATED: June 30, 2008.                     /s/MARK J. REICHEL for:
17                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
18                                             Attorney for Plaintiff
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     Stip and Order                            2
              Case 2:08-cr-00103-LKK Document 53 Filed 06/30/08 Page 3 of 4


 1                     DECLARATION OF DEFENDANT JOHN PRUITT
 2          I, John Pruitt, hereby declare under the penalty of
 3   perjury as follows:
 4          I am the defendant in the above-entitled matter that
 5   bears my name. I have discussed the status of my case with my
 6   attorney, Mr. Reichel, and desire as follows:
 7          I desire to allow the defense attorneys to file a Reply
 8   to the Motion To Suppress Evidence on July 8, 2008; I also
 9   desire to vacate the currently set court date of July 1,
10   2008, as previously set in court on June 24, 2008, in my
11   presence. I desire to have the next court appearance for July
12   22, 2008.
13          I have been provided a copy by Mr. Reichel of and have
14   reviewed the stipulation signed June 17, 2008 by Mr. Balazs,
15   Mr. Beckwith and Mr. Reichel in regard to the continuation of
16   the case, and a request for a waiver of the Speedy Trial Act
17   time limits, to July 22, 2008, as filed and referenced on the
18   courts docket in this case as entry #48; I concur with that
19   stipulation and agree to its terms.
20          My attorney has discussed with me my rights under the
21   Speedy Trial Act, 18 U.S.C. 3161, et seq, as well as my right
22   to a speedy and public trial guaranteed in the U.S.
23   Constitution. I desire to waive those rights from the
24   execution of this stipulation until July 22, 2008.
25          Executed at Sacramento, California.
26          DATED June 25       2008     /s/ JOHN PHILLIP PRUITT
27                                             JOHN PHILLIP PRUITT
28                                       (Original signed held by counsel)

     Stip and Order                            3
              Case 2:08-cr-00103-LKK Document 53 Filed 06/30/08 Page 4 of 4


 1
 2                                       O R D E R
 3          IT IS SO ORDERED.         Time is excluded in the interests of
 4   justice pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local
 5   Code T4 and Local Code e as motions are on file with the
 6   court.
 7   DATED: June 27, 2008
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     Stip and Order                            4
